Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 1 of 30




                   UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA


   (1)   JANICE BUSH, as Special
         Administrator for the Estate of
         Ronald Garland

                        Plaintiff,

   v.                                           Case No.: 19-CV-0098-GKF-FHM

   (2)   BRET BOWLING, in his official and
         individual capacities,

                        Defendants.


                            PLAINTIFF’S MOTION FOR SANCTIONS




                                           RESPECTFULLY SUBMITTED,

                                           BRYAN & TERRILL LAW, PLLC
                                           J. Spencer Bryan, OBA # 19419
                                           Steven J. Terrill, OBA #20869
                                           3015 E. Skelly Dr., Suite 400
                                           Tulsa, Oklahoma 74105
                                           Tele/Fax: (918) 935-2777
                                           jsbryan@bryanterrill.com




   February 10, 2020
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 2 of 30


                                              TABLE OF CONTENTS

TABLE OF AUTHORITIES................................................................................................... 2

I.       STATEMENT OF MATERIAL FACT ........................................................................... 6

         A.       FACTS REGARDING THE LIKELY CONTENT OF THE MISSING VIDEO......................... 6

         B.       FACTS  REGARDING VIDEO PRESERVATION AND THE DUTY TO
                  PRESERVE .................................................................................................. 10


II.      ARGUMENTS AND AUTHORITIES........................................................................... 12

         A.       DEFENDANTS HAD A DUTY TO PRESERVE SECURITY VIDEO FROM ALL
                  CAMERAS IN THE BOOKING AREA AT THE CCJC DURING THE INCIDENT ................. 12


         B.       STANDARDS ON A MOTION FOR SANCTIONS ..................................................... 16

                  1.        THE DEGREE OF ACTUAL PREJUDICE .................................................. 18

                  2.        THE AMOUNT OF INTERFERENCE WITH THE JUDICIAL
                            PROCESS ......................................................................................... 19

                  3.        THE CULPABILITY OF THE LITIGANT ................................................... 20

                  4.        WHETHER THE COURT WARNED THE PARTY IN ADVANCE ..................... 21

                  5.        THE EFFICACY OF LESSER SANCTIONS ................................................ 22

         C.       ASSUMING ARGUENDO THE COURT DOES NOT CONSIDER DEFAULT IS
                  NECESSARY, ESTATE REQUESTS A LESSER SANCTION ........................................ 27

III.     CONCLUSION....................................................................................................... 28
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 3 of 30


                                         TABLE         OF    AUTHORITIES

Anderson v. Cryovac,
      862 F.2d 910 (1st Cir.1988) .................................................................................. 24

Aramburu v. Boeing Co.,
      112 F.3d 1398 (10th Cir.1997) .................................................................. 19, 23, 24

Brigham Young University v. Pfizer, Inc.,
      262 F.R.D. 637 (D. Utah 2009) .............................................................................. 20

Brewer v. Quaker State Oil Refining Corp.,
      72 F.3d 326 (3d Cir.1995) ..................................................................................... 21

Cache La Poudre v. Land O’Lakes, Inc.,
      244 F.R.D. 614 (D. Colo. 2007) ............................................................................. 12

Coates v. Johnson & Johnson,
       756 F.2d 524 (7th Cir.1985) .................................................................................. 23

Computer Associates Intern., Inc., v. American Fundware, Inc.,
      133 F.R.D. 166 (D. Colo. 1990) ............................................................................. 25

Connor v. Sun Trust Bank,
      546 F. Supp. 2d 1360 (N.D. Ga. 2008) ................................................................... 13

Doe v. Norwalk Community College,
       248 F.R.D. 372 (D. Conn. 2007) ............................................................................ 13

E.E.O.C. v. Dillon Companies, Inc.,
      839 F.Supp.2d 1141 (D. Colo.2011) ....................................................................... 24

Ehrenhaus v. Reynolds,
      965 F.2d 916 (10th Cir.1992) .................................................................... 17, 18, 22

Essenter v. Cumberland Farms, Inc.,
       2011 WL 124505(N.D.N.Y.2011) .................................................................... 14, 17

Estate of Trentadue v. United States,
       397 F.3d 840 (10th Cir.2005) ................................................................................ 27

FDIC v. Daily,
      973 F.2d 1525 (10th Cir.1992) .............................................................................. 23

Gentex Corp. v. Sutter,
       2011 WL 5040893 (M.D.Pa.2011) ................................................................... 21, 24


                                                               2
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 4 of 30


Gocolay v. New Mexico Federal Savings & Loan Assoc.,
      968 F.2d 1017 (10th Cir. 1992) ........................................................................ 23, 24

Henning v. Union Pacific R. Co.,
      530 F. 3d 1206 (10th Cir. 2008) ............................................................................. 27

In re Baker,
       744 F.2d 1438 (10th Cir.1984) .............................................................................. 17

In re Krause,
       367 B.R. 740 (D.Kan.2007) ................................................................................... 17

In re Standard Metals,
        817 F.2d 625 (10th Cir.1987) ................................................................................ 23

In re Wechsler,
       121 F. Supp. 2d 404 (D. Del. 2000) ........................................................................ 18

King v. Am. Power Conversion Corp.,
       181 Fed.Appx. 373 (4th Cir. 2006) ......................................................................... 15

Kounelis v. Sherrer,
      529 F.Supp.2d 503 (D.N.J. 2008) ........................................................................... 15

LaJocies v. City of North Las Vegas,
       2011 WL 1630331 (D. Nev. April 28, 2011) ........................................................... 15

Lee v. Max Intern., L.L.C.,
       638 F.3d 1318 (10th Cir. 2011) .............................................................................. 17

Mathis v. John Morden Buick, Inc.,
       136 F.3d 1153 (7th Cir.1998) ................................................................................ 16

McCargo v. Texas Roadhouse, Inc.,
     2011 WL 1638992 (D.Colo. 2011) ......................................................................... 19

Medcorp, Inc. v. Pinpoint Technologies, Inc.,
      2010 WL 2500301 (D.Colo. 2010) ......................................................................... 19

Micron Tech., Inc. v. Rambus Inc.,
      645 F.3d 1311 (Fed. Cir. 2011) .............................................................................. 23

Nat’l Hockey League v. Metropolitan Hockey Club,
       427 U.S. 639 (1976) ....................................................................................... 17, 23

Nucor Corp. v. Bell,
      251 F.R.D. 191 (D.S.C. 2008) ............................................................................... 13

                                                                3
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 5 of 30


Paramount Pictures Corp. v. Davis,
      234 F.R.D. 102 (E.D. Pa. 2005) ............................................................................. 18

Patterson v. C.I.T. Corp.,
       352 F.2d 333 (10th Cir.1965) ................................................................................ 23

Pension Comm. of Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC,
       685 F.Supp.2d 456 (S.D.N.Y.2010) ....................................................................... 12

Peschel v. City of Missoula,
       664 F.Supp.2d 1137 (D.Mont.2009) ................................................................. 15, 27

Phillip M. Adams & Associates, L.L. C. v. Dell, Inc.,
        621 F.Supp.2d 1173 (D. Utah 2009) ....................................................................... 23

Phillips Electronics North America Corp. v. BC Technical,
        773 F.Supp.2d 1149 (D. Utah 2011) ..................................................... 17, 21, 22, 25

Rattray v. Woodbury County, Iowa,
       761 F.Supp.2d 836 (N.D. Iowa 2010) ............................................................... 13, 19

Residential Funding Corp. v. DeGeorge Financial Corp.,
       306 F.3d 99 (2d Cir. 2002) .................................................................................... 17

Silvestri v. Gen. Motors Corp.,
        271 F.3d 583 (4th Cir. 2001) ........................................................................... 13, 15

Societe Internationale Pour Participations Industrielles et Commerciales, S.A. v. Rogers,
       357 U.S. 197 (1958) ............................................................................................. 23

SonoMedica, Inc. v. Mohler,
     2009 WL 2371507 (E.D.Va. July 28, 2009) ............................................................ 28

Switzer v. Much, Shelist, Freed, Denenberg, Ament, Bell & Rubenstein, P.C.,
       214 F.R.D. 682 (W.D.Okla. 2003) ......................................................................... 28

Turner v. Public Service Co. of Colorado,
       563 F.3d 1136 (10th Cir. 2009) ........................................................................ 16, 17

United States v. Koch Indus., Inc.,
       197 F.R.D. 463 (N.D.Okla.1998) ........................................................................... 22

Usavage v. Port Auth. of N.Y. & N.J., No. 10 Civ. 8219 (JPO),
      2013 WL 1197774 (S.D.N.Y. Mar. 26, 2013) .......................................................... 14

Victor Stanley, Inc. v. Creative Pipe, Inc.,
       269 F.R.D 497 (D.Md. Sept. 9, 2010) ............................................................... 12, 13

                                                                 4
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 6 of 30


Zubulake v. U.B.S. Warburg, L.L.C.,
      220 F.R.D. 212 (S.D.N.Y. 2003) ............................................................................ 14

Zubulake v. UBS Warburg LLC,
      229 F.R.D. 422 (S.D.N.Y.2004) ............................................................................. 13

OTHER AUTHORITY

Advisory Committee Notes to Rule 37(e) – December 1, 2015 ................................. 12

Fed. R. Civ. P. 37 ............................................................................................... 1, 12, 16

Okla. Admin. Code 310:670-5-2(3) .................................................................................... 9

Okla. Admin. Code 310:670-5-2(5) .................................................................................... 9

Okla. Admin. Code 310:670-5-2(28)(B) ............................................................................ 10

U. Balt. L. Rev. 381, 390 (2008) ....................................................................................... 12




                                                                 5
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 7 of 30


          Pursuant to Fed. R. Civ. P. 37, and this Court’s inherent authority, Janice Bush, as Special

Administrator for the Estate of Ronald Garland (hereinafter “Estate”), submits this Motion for Sanctions

against the Board of County Commissioners of Creek County, Bret Bowling, Lance Prout, and Joe

Thompson, in their official and individual capacities, and Chris Fetters, Brandon Fulks, and Jeff Labbee.

                                                      I.

                                      STATEMENT OF MATERIAL FACT

          A.     FACTS REGARDING THE LIKELY CONTENT OF THE MISSING VIDEO

          1.     This case involves the inhumane treatment of Ronald Garland at the Creek County Justice

Center (CCJC) on June 10, 2017 that culminated in a second use of force that resulted in Ronald’s

premature death. (Doc. 40, 178-1).

          2.     Relevant to this motion are critical events in the booking area preceding the second use of

force incident, and the missing video of those events that would depict: (1) a previous use of force on

Ronald in the doorway to the medical cell; (2) deliberate antagonizing behaviors by staff outside the detox

cell door that contributed to Ronald’s worsening condition; and (3) whether the CCJA nurse, or anyone

else, performed any welfare checks on Ronald through the detox cell door. (See Ex. 1, Incident Reports;

Ex. 2, OSBI Interview of Honeycutt; Ex. 3, Diagram of CCJC; Ex. 5, Untimed Progress Note by Keri

Janes).

          3.     A forensic review of the three CCJC DVRs, produced in response to an Order as being

responsive to video of the incident, concluded that missing video from the booking room camera was not

retrievable. (See Ex. 4, Declaration of Avansic Representative; see also Docs. 141, 156).

          4.     On June 10, 2017, Ronald was a pretrial detainee at the CCJC on a DUI charge; he was

moved from general population to a detox cell in booking after exhibiting odd behavior in the housing

unit consistent with severe detoxing. (See Ex. 5, Progress Note; see also Doc. 40, ¶ 20).




                                                      6
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 8 of 30


        5.      The CCJC air conditioner was malfunctioning at the time; Ronald was sweating profusely

and requesting water. (See Ex. 6, Fetters Interview, Ex. 7, Minutes of CCPFA (July 6, 2017); Ex. 24,

Murphy depo., p. 12:11-22).

        6.      After jailers placed Ronald in the detox cell, video from inside the cell shows Defendant

CCJC supervisor Chris Fetters throwing two cups of water in Ronald’s face. Although Ronald was asking

for water, none was provided. The detox cell is a “dry” cell meaning there is no running water or toilet for

people locked inside. (See Ex. 8, Photo of Fetters throwing water at Ronald; Ex. 24, p. 19:13-16)

        7.      A witness told the OSBI that Fetters threw the water at Ronald after asking other jailers

and facility nurse Keri Janes (Janes) if they “wanted to see something funny?” (See Ex. 2).

        8.      Janes has denied any knowledge of Fetters abusing and humiliating Ronald despite the

witness placing her at the doorway when Fetters abused Ronald. (See Ex. 9, Janes depo, pp. 188-190).

        9.      The missing video from the camera in the booking area would identify the people standing

near Fetters when he issued the insulting comment. Based on the witness, that group of people included

Janes. (Compare Ex. 2, with Ex. 10, Sample Screenshot from camera with missing video)

        10.     Jailers then handcuffed Ronald and escorted him out of the detox cell. (See Ex. 1, 5).

Although the booking room camera is trained on the detox cell door and the adjacent medical cell, there

is no video of Ronald exiting the detox cell, where jailers took Ronald, or what was done to him.

        11.     Ronald’s CCJC medical records indicate that he was taken to the adjacent medical cell to

see Janes. (See Ex. 5). Following the encounter with Janes, three incident reports document that Ronald

stopped as he was being escorted out of the medical cell. (See Ex. 1).

        12.     These reports document that Fetters and/or jailer Bailey Smalley used force on Ronald in

the doorway of the medical cell. Id. This use of force is not described in any detail and occurred in front

of Janes. Id.




                                                     7
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 9 of 30


         13.      A use of force in the doorway to the medical cell would be visible from the camera in the

booking area, but there is no video of what Ronald did that warranted a use of force (if anything), if he

even stopped in the doorway, or why he stopped, if that’s what he did. (See Ex. 10).

         14.      There is no documentation from Janes that a use of force even happened in the doorway to

the medical cell, there is no documentation of Janes assessing Ronald in response to the use of force, and

there is no Segregation Activity Record (SAR) documenting Ronald’s condition over time. (See Ex. 5).

         15.      Instead, Ronald was sent back to the dry detox cell where he remained for the next 3+

hours. (See Ex. 5; see also Ex. 25, Preserved Video, Video from County (Initial), Cam1).1

         16.      During this time, the camera in the detox cell does not show anyone entering the cell to

check on Ronald. (See Ex. 25, Video from County (Initial) Cam1).

         17.      A witness told the OSBI that jailers stood outside the detox cell door taunting Ronald and

yelling “hey!” like they were trying to startle him, and that Ronald responded by yelling. (See Ex. 2; see

also Ex. 24, p. 13:21-25 (“[O]ne of the CO’s, he just got really upset. And that’s when it all happened.”)).

         18.      Defendant Labbee admitted that he thought Ronald was “obnoxious,” and another witness

told the OSBI that it appeared the jailers were “mad” at Ronald. (See Ex. 11, Labbee Interview; see also

Ex. 12, Murphy Interview; Ex. 24, pp. 11:10-17, 13:21-25)

         19.       Despite a policy requiring staff to prepare a SAR to monitor people in the detox cell, there

is no SAR for Ronald’s detention and no documentation of checks at any interval. Only monitoring by

remote means violates the Oklahoma Jail Standards. (See Ex. 13, Segregation policy, SAR example; see

also Ex. 15, Okla. Jail Standards, 310:670-5-2(3) (requiring visual sight check “at least” once every hour

“which shall include all areas of the cell and such sight checks shall be documented.”).



1
  Instructions for the video player are included with Exhibit 25, along with all available video produced by two other
agencies, including: (1) the initial video production by the county; (2) the supplemental video production by the county (all
post-incident); (3) the video production from the OSBI (received from the county); and (4) the video production from the
Oklahoma Office of the Medical Examiner (also received from the county). The video at issue is not among the production
from the county or any agency that received video from the county.
                                                               8
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 10 of 30


        20.     Janes made one untimed entry in Ronald’s Progress Notes. That entry gives the appearance

 that Janes looked-in on Ronald through the window on the cell door, but the time for that entry reads only

 “21__”. (See Ex. 5). There is no video to corroborate the entry.

        21.     Janes back-charted at least one other entry relating to Ronald. Id.

        22.     Video from the camera in the booking area would show who went to Ronald’s door, when

 they were there, and what they were doing. (See Ex. 10). This missing video would either corroborate or

 refute Janes’ entry.

        23.     After 3 hours of Ronald in the detox cell, video from the camera in the booking area

 suddenly begins at 9:33:36, just moments before Fetters and jailers Labbee and Fulks go to the detox cell

 door. (See Ex. 14, Screenshot of when booking camera video begins; see also Ex. 16, Video of Ronald’s

 removal from the detox cell).

        24.     Prior to opening the door, Fetters sent Labbee and Fulks away to get the restraint chair as

 Fetters has the detox cell door opened in violation of Oklahoma Jail Standard 310:670-5-2(5). (Compare

 Ex. 6, with Ex. 15). When Fetters opened the door, he grabbed Ronald’s arm and forcefully threw him to

 the ground. (See Ex. 16). Fetters then yelled out that Ronald “swung” on him. The claim is not supported

 by the video. (Compare Ex.11 with Ex. 16).

        25.        Once on the ground, Fetters, Fulks, and Labbee began beating Ronald using “hammer”

 fists. The beating ended when the jailers tired of punching Ronald. Ronald was then lifted and taken to

 the restraint chair where jailers shoved him deep in the seat while forcefully pushing his head downward

 between his knees in a jackknife position. Ronald was held in this position for nearly a full minute. (See

 Ex. 6; see also Ex. 16, Ex. 17, Video of placement in restraint chair).

        26.      Ronald was non-responsive once Fetters finally lifts his head up. Id. Ronald suffered a

 cardiac arrest and anoxic brain injury. (See Ex. 18, SJMC Records). He was transported to St. John’s, but

 his condition was beyond medical help and family removed life-sustaining measures. Id.

                                                      9
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 11 of 30


        27.     Ronald died on June 18, 2017. Id.

        28.     Video capturing images of Ronald, and what he experienced outside the detox cell door,

 was saved and then destroyed. (Compare Ex. 19, Prout depo, pp. 191:24 - 192:8 with Ex. 4).

        29.     The camera in the booking area would have captured images of Ronald exiting the medical

 cell, the alleged justification for using force on Ronald, and the use of force itself. (See Ex. 10).

        30.     There is no video of Ronald exiting the cell, the conduct allegedly justifying the use of

 force in the doorway to medical, or the use of force itself, and there are no medical records documenting

 the use of force or any evaluation of Ronald’s condition in response to the force used. (See Ex. 25; Ex. 4).

        31.     The camera in the booking area would have captured images of jailers or the nurse if they

 checked on Ronald from the detox cell door. (See Ex. 10).

        32.     Additionally, the camera in the booking area would have also captured images of jailers or

 the nurse if they antagonized Ronald from outside the detox cell door. Id.

        B.      FACTS REGARDING VIDEO PRESERVATION AND THE DUTY TO PRESERVE

        33.     The Oklahoma Administrative Code applicable to jails defines a “serious injury” as “life

 threatening or requiring transfer to outside medical facility.” (See Ex. 15, O.A.C. 310:670-5-2(28)(B)).

 “Serious injuries” trigger notice to the Oklahoma State Department of Health Jail Inspection Division

 (OSDH-JID) on the following business day. Id.

        34.     To this day, nobody from the Creek County Sheriff’s Office has reported Ronald’s death

 to the OSDH-JID.

        35.     Following the Incident, Defendant Jail Administrator Lance Prout (Prout) testified that all

 video from the CCJC video surveillance system was saved. (See Ex. 19, p. 192:7-8) (“From the time he

 came in till the time he left, we put it all on a big portable USB drive.”).

        36.     Defendants have produced 315 individual video files that include images of (1) Ronald

 arriving at the CCJC at 4:00 a.m. and sitting in pre-booking for nearly 4 hours; (2) Ronald being escorted

                                                       10
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 12 of 30


 to a housing unit at 7:50 a.m.; (3) Ronald spending his entire day in a general population housing unit; (4)

 his removal from the housing unit; (5) Ronald’s time inside the detox cell; (6) the second use of force on

 Ronald and his placement in the restraint chair; and (7) EMTs transporting Ronald from the CCJC after

 the second incident. (See Ex. 25).

            37.   Conspicuously absent from this video preservation effort are any images of Ronald (1)

 being taken to the medical cell; (2) the use of force on Ronald in the doorway to medical; or (3) the conduct

 of staff outside the detox cell door. Id.

            38.   On June 19, 2017, Undersheriff Joe Thompson provided the OSBI with 2 DVD’s of video

 from the CCJC as part of a criminal investigation into Ronald’s death. (See Ex. 20, Report of Investigative

 Activity, OSBI Report No.OSBI2017-770/4).

            39.   On June 20, 2017, death investigator Megan Harris from the Office of the Chief Medical

 Examiner (OCME), prepared a report stating the CCJC had video and would provide copies to the OCME.

 (See Ex. 21, Request for Analysis).

            40.   On July 6, 2017, Estate served the Sheriff’s Office and the Board of County Commissioners

 with a preservation letter that included notice to preserve all video at the CCJC. (See Ex. 22, Preservation

 Letter).

            41.   On December 5, 2019, this Court entered an Order compelling production of the DVRs in

 use at the CCJC at the time of the Incident. (Doc. 156).

            42.   On February 7, 2020, Estate received a report from Avansic, a forensic e-discovery

 company that examined 3 DVRs produced by Defendants. (See Ex. 4).

            43.   Avansic’s examination revealed the following: (1) DVR 1 was completely gutted and

 contained no hard drive, CPU, or any useful equipment whatsoever; (2) DVR 2 was in service in 2019,

 but the system was inoperable; (3) DVR 3 was in service in 2018 but the system was inoperable; and (4)

 there were no files or logs available for June 9, 2017 through June 24, 2017. Id.

                                                      11
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 13 of 30


        44.     The video Prout saved, which would necessarily include the missing video referenced

 above, is not available despite preservation efforts that saved all video and Estate’s separately issued

 preservation letter.

        45.     In 2015, Judge Dowdell sanctioned Creek County for destroying video at the CCJC in a

 different jail case. (See Ex. 23, Order in Bloom v. Toliver).

                                                       II.

                                        ARGUMENTS AND AUTHORITY

        A.      DEFENDANTS HAD A DUTY TO PRESERVE SECURITY VIDEO FROM ALL CAMERAS IN
                THE BOOKING AREA AT THE CCJC DURING THE INCIDENT

        “[Ordinarily] the duty to preserve evidence is triggered by the filing of a lawsuit. However, the

 obligation to preserve evidence may arise even earlier if a party has notice that future litigation is likely.”

 Cache La Poudre v. Land O’Lakes, Inc., 244 F.R.D. 614, 621 (D.Colo.2007) (internal quotations and

 citations omitted). “[T]he duty ‘may arise from statutes, regulations, ethical rules, court orders, or the

 common law. . . , a contract, or another special circumstance.” Victor Stanley, Inc. v. Creative Pipe, Inc.,

 269 F.R.D 497 (D.Md. Sept. 9, 2010) (citing 37 U. Balt. L. Rev. 381, 390 (2008))).

        As clarified by the Advisory Committee Notes to Amended Rule 37(e),

        Although the rule focuses on the common-law obligation to preserve in the anticipation or
        conduct of litigation, courts may sometimes consider whether there was an independent
        requirement that the lost information be preserved. Such requirements arise from many
        sources — statutes, administrative regulations, an order in another case, or a party’s own
        information-retention protocols.

 See Advisory Committee Notes to Rule 37(e) – December 1, 2015 (emphasis added).

        “It is well established that the duty to preserve evidence arises when a party reasonably anticipates

 litigation. Once a party reasonably anticipates litigation, it must suspend its routine document

 retention/destruction policy and put in place a litigation hold to ensure the preservation of relevant

 documents.” Pension Comm. of Univ. of Montreal Pension Plan v. Banc of Am. Sec., LLC, 685 F.Supp.2d

 456, 466 (S.D.N.Y.2010) (internal citations and quotations omitted). The duty to preserve means action
                                                       12
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 14 of 30


 must be taken to preserve evidence, meaning that it is not lost, destroyed, inadvertently or negligently

 overwritten, or intentionally wiped out, and that it is available to be produced to the other side. See

 Zubulake v. UBS Warburg LLC, 229 F.R.D. 422 (S.D.N.Y.2004).

         Additionally, it is important to recognize under the facts of this motion that “. . . agency law is

 directly applicable to a spoliation motion, and the level of culpability of the agent can be imputed to the

 master.” Victor Stanley, Inc., 269 F.R.D. at 516 (citing Nucor Corp. v. Bell, 251 F.R.D. 191, 198-99

 (D.S.C. 2008) (agent’s willful “alteration or destruction of relevant data” on laptop was directly

 attributable to defendant); Connor v. Sun Trust Bank, 546 F. Supp. 2d 1360 (N.D. Ga. 2008) (agent’s bad

 faith destruction of email was attributable to defendant); accord Silvestri v. Gen. Motors Corp., 271 F.3d

 583, 592 (4th Cir. 2001) (concluding that later-discharged attorney’s actions could be imputed to

 plaintiff)).

         In the present case, it is undisputed that all CCJC video was initially saved. A preservation letter

 also issued on July 6, 2017. Accordingly, there is no reason any video should be missing, and the decision

 to save all video supports the inference that Defendants knew that future litigation or criminal proceedings

 were reasonably foreseeable before video was destroyed. Video before and after the first use of force was

 saved, and there is no dispute that the booking room camera would have captured images of Ronald as he

 was escorted to and from the detox cell, and there is no dispute that same camera would have documented

 all events occurring immediately outside the detox cell door, including events the Defendants intend to

 rely on as part of their defense. The Incident also triggered reporting requirements to the state, and written

 reports by Fetters and others.

         Given Fetters’ justification for assaulting Ronald, and Ronald’s injuries, the Defendants knew or

 should have known that all video from the booking area would be critical to investigators and prosecutors.

 See Rattray v. Woodbury County, Iowa, 761 F.Supp.2d 836, 847 (N.D. Iowa 2010) (finding that potential

 criminal action triggers duty to preserve), see also Doe v. Norwalk Community College, 248 F.R.D. 372,

                                                      13
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 15 of 30


 377-78 (D.Conn. 2007) (duty to preserve triggered by criminal investigation). This is presumably why all

 video was saved in the first instance, which does not explain why video was later destroyed.

        Further, once the duty to preserve attaches, a party must save any evidence that it “reasonably

 should know is relevant” to an anticipated action. Zubulake v. U.B.S. Warburg, L.L.C., 220 F.R.D. 212,

 217 (S.D.N.Y. 2003); see also Usavage v. Port Auth. of N.Y. & N.J., No. 10 Civ. 8219 (JPO), 2013 WL

 1197774, at *10 (S.D.N.Y. Mar. 26, 2013) (acknowledging that, while the duty to preserve video

 surveillance does not include “all footage,” it does encompass the preservation of all “potentially relevant

 footage”). Under this objective standard, there is no dispute that Defendants had a duty to preserve video

 from the camera in the booking area that depicted Ronald, any medical checks, or use of force incidents

 throughout the duration of the detention and Incident. See Essenter v. Cumberland Farms, Inc., 2011 WL

 124505*7 (N.D.N.Y.2011) (“. . . there is no doubt that a video depicting the time before, during, and after

 an incident is relevant to determine what actually happened at the moment the injury occurred.”).

        Beyond destroying the video, there is no evidence that any Defendant notified the OSBI or the

 District Attorney’s Office that other video was initially available, or that Defendants destroyed video of a

 use of force incident. Nor is there any evidence of Bowling or the leadership for Creek County taking any

 steps to investigate the destruction of video or hold anyone accountable for its loss.

        Furthermore, whether the individual Defendants directly participated in the destruction is not

 relevant because they have acquiesced in the spoliation precisely because they benefit from the

 misconduct. They knew or should have known of Ronald’s injuries, their state law reporting requirements,

 and their preservation duties as memorialized in the 2015 order from Judge Dowdell. These Defendants

 had a preservation duty, and there is no evidence that any of them took affirmative steps to protect the

 video, or subsequently report the destruction to law enforcement. Allowing individual Defendants to

 escape sanctions under these circumstances would encourage the bad faith destruction of evidence by

 strangers to potential litigation. The harm is magnified where municipal liability is conditioned on proving

                                                     14
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 16 of 30


 a constitutional violation by a subordinate. For this reason, courts have issued terminating sanctions in

 similar situations.

         In Silvestri v. General Motors Corp., 271 F.3d 583 (4th Cir.2001), the Fourth Circuit dismissed a

 products case for failure to preserve even though the plaintiff did not own the vehicle in question and did

 not have legal control over it. Id. at 591 (“In this case, it is true that Silvestri did not own the vehicle, nor

 did he even control it in a legal sense after the accident because the vehicle belonged to his landlady’s

 husband.”). Similarly, in King v. Am. Power Conversion Corp., 181 Fed.Appx. 373 (4th Cir.2006) the

 plaintiff’s experts believed a fire at issue had been caused by a faulty computer power source. Before suit,

 the plaintiff failed to take steps to safeguard the power source, which was discarded by an unrelated party,

 and the defendant had no chance to inspect it. The Fourth Circuit affirmed dismissal because the defendant

 had “suffered irreparable prejudice” and could not adequately defend itself against plaintiff’s claims. Id.

 at 377-78.

         There are several other instances in which district courts have granted adverse inference

 instructions in these circumstances. See Kounelis v. Sherrer, 529 F.Supp.2d 503 (D.N.J.2008) (permitting

 an adverse inference instruction against a defendant because surveillance video evidence of an alleged

 assault by prison guards was lost because it was never downloaded and recorded onto a videotape);

 LaJocies v. City of North Las Vegas, 2011 WL 1630331 (D.Nev. April 28, 2011) (permitting adverse

 inference instruction against defendants where surveillance video and photographs of alleged prison

 assault were lost); Peschel v. City of Missoula, 664 F.Supp.2d 1137 (D.Mont.2009) (granting spoliation

 sanction of de facto default judgment against defendants because dashboard video of the arrest at the core

 of the claim was lost after being uploaded to a police department computer and viewed by several officers).

         Here, Defendants had a duty to preserve all video that could reasonably assist in determining the

 veracity of any claims and contentions made by the employees or the Estate, or that would assist

 investigators or prosecutors. Defendants’ duty was triggered when video was preserved in fact and

                                                        15
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 17 of 30


 cemented by a preservation letter dated July 6, 2017. The Defendants had video evidence that would detail

 every minute of activity for the entirety of Ronald’s detention in the booking area to include: (1) Ronald’s

 conduct and behaviors when he exited the detox cell the first time; (2) Ronald returning to the medical

 cell; (3) whatever conduct Defendants’ claim justified the use of force on Ronald as he exited the medical

 cell; and (4) any behaviors or conduct by Janes or jailers outside the detox cell door in the time leading to

 the fatal use of force incident; (5) the length of interactions with persons outside the detox cell (if any);

 and (6) the identification of other potential witnesses. But instead of preserving video, Defendants

 destroyed all video that would allow a jury to assess the initial use of force and what happened outside the

 detox door in the critical hours that preceded the Incident. There is no legitimate explanation for robbing

 the Estate of this video given the comprehensive efforts to save earlier video of Ronald’s entire day inside

 the general population housing unit.

        Given the admission that all video was saved, which necessarily included the now-missing video,

 there is no reasoned legal justification for it turning up missing in the face of a preservation letter and an

 ongoing criminal investigation unless the destruction was intended to manipulate the evidence, to

 manufacture justifications after-the-fact, suppress the truth, obstruct justice, and gain a litigation

 advantage. With these considerations in mind, the Court must evaluate a proper sanction.

        B.      STANDARDS ON A MOTION FOR SANCTIONS

        “[P]laintiffs must be ‘diligent in the defense of their own interests,’ and should seek sanctions

 under Federal Rule of Civil Procedure 37 to remedy any prejudice caused by spoliation.” Turner v. Public

 Service Co. of Colorado, 563 F. 3d 1136, 1149 (10th Cir. 2009) (quoting Mathis v. John Morden Buick,

 Inc., 136 F.3d 1153, 1156 (7th Cir.1998)). “When a plaintiff fails to seek sanctions under Rule 37 and thus

 ‘forecloses access to the substantial weaponry in the district court’s arsenal,’ the plaintiff's only remaining

 option is to seek sanctions under a spoliation of evidence theory.” Turner, 563 F.3d at 1149 (quoting

 Mathis, 136 F.3d at 1155).

                                                       16
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 18 of 30


        Sanctions for spoliation of evidence are appropriate when (1) a party had a duty to preserve the

 evidence because it knew, or should have known, that litigation was imminent, and (2) the other party was

 prejudiced by the destruction of the evidence. Turner, 563 F.3d at 1149. The burden is on the moving

 party to prove, by a preponderance of the evidence, that the opposing party failed to preserve evidence or

 destroyed it. See In re Krause, 367 B.R. 740, 764 (D.Kan.2007). Further, “Courts must take care not to

 ‘hold [] the prejudiced party to too strict a standard of proof regarding the likely contents of the destroyed

 [or unavailable] evidence,’ because doing so ‘would subvert the . . . purposes of the adverse inference,

 and would allow parties who have . . . destroyed evidence to profit from that destruction.’” Essenter, 2011

 WL 124505 at 6 (quoting Residential Funding Corp. v. DeGeorge Financial Corp., 306 F.3d 99, 109 (2d

 Cir. 2002)).

        “District courts enjoy ‘very broad discretion to use sanctions where necessary to insure . . . that

 lawyers and parties . . . fulfill their high duty to insure the expeditious and sound management of the

 preparation of cases for trial.’” Lee v. Max Intern., L.L.C., 638 F.3d 1318 (10th Cir. 2011) (citing In re

 Baker, 744 F.2d 1438, 1440 (10th Cir.1984) (en banc)). “The district court’s active participation in the

 discovery motions practice affords it a superior position than we — with but a cold record to review —

 for deciding what sanction best fits the discovery ‘crime,’ both as a matter of justice in the individual case

 and ‘to deter [others] who might be tempted to [similar] conduct.’” Lee at 1320 (citing Nat’l Hockey

 League v. Metropolitan Hockey Club, 427 U.S. 639, 643 (1976)). Given the prior order sanctioning Creek

 County for destroying video, this motion presents a compelling case for deterrence.

        A determination of the correct sanction for a discovery violation is a fact-specific inquiry. See

 Phillips Electronics North America Corp. v. BC Technical, 773 F.Supp.2d 1149, 1210 (D.Utah 2011).

 The court must consider a number of factors, and particularly those five set forth by the Tenth Circuit in

 Ehrenhaus v. Reynolds, 965 F.2d 916 (10th Cir.1992). Id. “The five Ehrenhaus factors are: “(1) [T]he

 degree of actual prejudice to the [party]; (2) the amount of interference with the judicial process; . . . (3)

                                                      17
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 19 of 30


 the culpability of the litigant; (4) whether the court warned the party in advance that dismissal of the action

 would be a likely sanction for noncompliance; and (5) the efficacy of lesser sanctions.” Ehrenhaus, 965

 F.2d at 921 (citations omitted). To determine what sanction would be appropriate for destroying relevant

 video, the court should examine each of the five Ehrenhaus factors.

                1.      THE DEGREE OF ACTUAL PREJUDICE

        Defendants’ act of spoliation has caused extreme and irreversible prejudice to the Estate. “When

 considering the degree of prejudice suffered by the party that did not destroy the evidence, the court should

 take into account whether that party had a meaningful opportunity to examine the evidence in question

 before it was destroyed.” Paramount Pictures Corp. v. Davis, 234 F.R.D. 102, 112 (E.D. Pa. 2005)

 (quoting In re Wechsler, 121 F. Supp. 2d 404, 416 (D. Del. 2000)).

        Defendants had the opportunity to view the video before erasing it forever. Estate had no

 opportunity to examine the video, and none of the Defendants alerted the OSBI Investigator, the OCME,

 or the District Attorney’s Office of the deleted footage. “When one side is completely deprived of the

 opportunity to inspect the evidence because it was destroyed after the other side had a chance to examine

 it, then sanctions for spoliation are generally appropriate.” Id. at 112. The present case goes beyond simple

 destruction, Defendants intentionally withheld information from the OCME, the OSBI, and the District

 Attorney’s Office that would assist in their investigation, and despite that knowledge, Bowling and the

 CCJC leadership failed to take any steps in response to conduct worthy of the most serious sanction. As a

 consequence, the OSBI and FBI were unable to review any video that would show the amount and type

 of force used on Ronald as he exited the medical cell despite a camera pointed in that direction. The

 destruction of video also prevents the jury, Estate, investigators, and this Court from determining whether

 anyone checked on Ronald from outside the cell door, or whether jailers or the nurse were contributing to

 Ronald’s decline by purposefully antagonizing him.




                                                       18
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 20 of 30


        In McCargo v. Texas Roadhouse, Inc., 2011 WL 1638992 (D.Colo. 2011), a defendant destroyed

 restaurant video that may have supported plaintiff’s hostile work environment claim. In characterizing the

 prejudice, the Court stated “there is no way to know exactly what evidence Defendant destroyed, and there

 is no way to know how to place Plaintiff back into a position where it would not suffer significant prejudice

 as a result of Defendant’s destruction of evidence.” McCargo, at 10. The McCargo court declined to enter

 a default because the plaintiff had possession of the most damning piece of evidence. Here, the Defendants

 destroyed the central piece of evidence: the conduct and behaviors of staff relative to Ronald and his

 condition in the 3 hours preceding the Incident, and it is reasonable to infer Defendants destroyed the

 video because that it was the most damning evidence of the contempt they exhibited towards Ronald. See

 Aramburu v. Boeing Co., 112 F.3d 1398, 1407 (10th Cir.1997) (“bad faith destruction of a document

 relevant to proof of an issue at trial gives rise to an inference that production of the document would have

 been unfavorable to the party responsible for its destruction.”).

        By destroying the video, Defendants have destroyed a critical piece of evidence that is irrefutable,

 purely objective, and devoid of any bias. No amount of testimony or after-the-fact report writing can

 replace what Defendants have destroyed, and what Defendants destroyed was not tangential or marginally

 relevant – it is the most critical evidence of Ronald’s treatment and Defendants’ knowledge leading up to

 the Incident. See Rattray, 761 F.Supp.2d at 847 (“even if the missing portion of the recording cannot be

 shown to be ‘a smoking-gun,’ ‘the very fact that it is the only recording of’ the incident in question is

 sufficient to show prejudice”). The prejudice to Estate is nothing short of dispositive – the entire case

 could rest on how a jury interpreted video from the booking room camera, and whether that video revealed

 contempt for Ronald that lead jailers to manufacture a second use of force incident.

                2.      THE AMOUNT OF INTERFERENCE WITH THE JUDICIAL PROCESS

        Destruction of the video prevents this Court from considering all the facts or submitting a full and

 complete case to the jury. As recognized in Medcorp, Inc. v. Pinpoint Technologies, Inc., 2010 WL

                                                      19
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 21 of 30


 2500301*3 (D.Colo. 2010), “any time a party destroys evidence presumably at odds with its case, the trial

 process is hampered because it may result in the jury having incomplete information.” See also Brigham

 Young University v. Pfizer, Inc., 262 F.R.D. 637, 645 (D.Utah 2009) (repeated delays in failing to provide

 relevant discovery is sufficient to support finding of interference with judicial process).

        Effective operation of the judicial process turns on the cooperation of the parties. If parties knew

 they could destroy critical evidence with impunity, and thereby avoid liability, the judicial system could

 not function. In this sense, there is no greater interference with the judicial process than taking steps that

 would undermine the system altogether. The video destroyed by the county was certainly of an exculpatory

 character given incident reports acknowledging a use of force involving Fetters that would have been

 visible from the booking area camera. Based on the circumstances and other witness reports, it is

 reasonable to conclude the missing video would have depicted: (1) images of Ronald and his compliant

 behaviors despite being humiliated by Fetters’ water toss; (2) a use of force in the medical cell doorway

 involving Fetters that was likely excessive and unjustified; and (3) behaviors showing jail staff tormenting

 Ronald from outside the detox cell door over the course of several hours.

        In this case, the Defendants have destroyed evidence in a manner that precludes this Court from

 ever submitting a full and complete version of events to the jury, and there is no adequate method for

 replacing what the Defendants have destroyed. The destruction of evidence in this case is particularly

 prejudicial because unlike a lost document or email, there is no mechanism for offering any substituted

 evidence of what appeared on the video; there is no way to accurately recreate the images from the booking

 camera and present that evidence to a jury. For these reasons, Estate submits that Defendants’ destruction

 of the video interferes with the very core of the judicial process.

                3.      THE CULPABILITY OF THE LITIGANT

        A strong degree of fault exists where “there has been an actual suppression or withholding of the

 evidence,” as opposed to where “the document or article in question has been lost or accidentally

                                                      20
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 22 of 30


 destroyed.” Gentex Corp. v. Sutter, 2011 WL 5040893, 6 (M.D.Pa.2011) (quoting Brewer v. Quaker State

 Oil Refining Corp., 72 F.3d 326, 334 (3d Cir.1995)).

        Here, Defendants destroyed the video after saving it, and despite receipt of a preservation letter

 within 30 days. It is difficult to fathom more blameworthy conduct. Purposefully destroying saved video

 was not accidental, and the video was not mistakenly lost. Instead, Defendants made a conscience decision

 to craft their own video narrative of what occurred, destroy the portion they didn’t like, and then present

 the doctored version as some legitimate preservation exercise. It is not the province of the Defendants to

 edit the video to fit their narrative. No rational person would believe doctored video evidence is beneficial

 to resolving a case on the merits. To make matters worse, when the OSBI and OCME began their

 investigations, the Defendants failed to alert those agencies that video of an earlier use of force existed in

 the first instance, and that they unilaterally decided to destroy it. This behavior is illogical at best, but

 given the totality of circumstances, this conduct evinces an intent to obstruct an investigation, to suppress

 evidence, and to gain an advantage in future litigation.

        When Defendants destroyed the video, they made a calculated gamble that the risk of getting

 caught was worth the penalty of destruction. Such an analysis demonstrates that Defendants’ destruction

 of video was accompanied by the highest degree of culpability. There is no better evidence of this

 calculated obstruction than Defendants’ prolonged delay in the face of Estate’s efforts to simply review

 the DVR. After telling Estate all video was saved, Defendants repeatedly delayed and ultimately feigned

 ignorance about the difference between a flash drive and DVR before refusing to cooperate at all once

 Estate determined that defense counsel never had the DVR in the first instance, and had no idea where it

 was located. (Doc. 141).

                4.      WHETHER THE COURT WARNED THE PARTY IN ADVANCE

        “An explicit warning that dismissal is likely is not a prerequisite to the imposition of dismissal

 sanctions.” Phillips Electronics, supra at 1156 (internal citation omitted). In Phillips, the Report and

                                                      21
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 23 of 30


 Recommendation adopted by the district court noted that the defendant was represented by sophisticated

 counsel and that case law placed defendant on notice that “default judgment may result from destruction

 of evidence.” Phillips, 773 F.Supp.2d at 1212. This is consistent with the Ehrenhaus decision which held

 that its five factors are not a “rigid test.” Ehrenhaus, 965 F.2d at 921.

        Although this Court did not have an opportunity to issue a warning before Defendants destroyed

 the video, Judge Dowdell issued a sanction order in 2015 that provided Defendants with unambiguous

 notice that destruction of jail video could result in a dispositive sanction. Despite the existence of that

 warning, and with indifference to the potential for sanctions, Creek County once again decided that

 destroying video was worth the risk. This is an intolerable gamble for any litigant, and it strongly suggests

 that Creek County simply does not believe the risk of destruction outweighs the benefit. This Court must

 disabuse Creek County of the notion that destruction of evidence is acceptable, and it is clear that only the

 most serious sanction will have any hope of getting its attention.

        Finally, Defendants are represented by sophisticated counsel, and the destruction occurred before

 this Court had an opportunity to issue a warning. It is illogical to allow a party to escape a dispositive

 sanction for lack of a prior warning where the spoliation occurred before a warning could issue. In fact,

 in this case opposing counsel explicitly told Estate’s counsel from the outset that all video was saved

 before later confessing 9 months later that all counsel had was a flash drive. (Doc. 141). While counsel’s

 representation was technically true--all video was saved--it was materially misleading because portions

 were later destroyed. Accordingly, Plaintiff submits that this element of the Ehrenhaus factors does not

 readily apply, except for the notice provided by Judge Dowdell’s prior order.

                5.      THE EFFICACY OF LESSER SANCTIONS

        Sanctions for the destruction of evidence serve the three distinct remedial purposes of punishment,

 accuracy, and compensation. United States v. Koch Indus., Inc., 197 F.R.D. 463, 483 (N.D.Okla.1998).

 “A court should select the least onerous sanction necessary to serve these remedial purposes. The severity

                                                       22
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 24 of 30


 of the sanction selected for spoliation of evidence should be a function of and correspond to the willfulness

 of the spoliator’s destructive act and the prejudice suffered by the non-spoliating party.” Id. at 483. As a

 general rule, the “bad faith destruction of a document relevant to proof of an issue at trial gives rise to an

 inference that production of the document would have been unfavorable to the party responsible for its

 destruction.” Aramburu, 112 F.3d at 1407 (citing Coates v. Johnson & Johnson, 756 F.2d 524, 551 (7th

 Cir.1985)).

        A failure to preserve evidence may be negligent, grossly negligent, or willful, but the intentional

 destruction of relevant records—either paper or electronic—is clearly willful conduct. See Philips, 773

 F.Supp.2d at 1202-03. After the duty to preserve attaches, the failure to collect paper or electronic records

 from key players, the destruction of email, or the destruction of backup tapes is grossly negligent or willful

 behavior. Id. Moreover, “[b]ad faith, or culpability, ‘may not mean evil intent, but may simply signify

 responsibility and control.’” Id. (quoting Phillip M. Adams & Associates, L.L. C. v. Dell, Inc., 621

 F.Supp.2d 1173, 1193 (D.Utah 2009)). Ultimately, the hallmark, or the “[t]he fundamental element,” of

 bad faith “is advantage-seeking behavior by the party with superior access to information necessary for

 the proper administration of justice.” Micron Tech., Inc. v. Rambus Inc., 645 F.3d 1311, 1326

 (Fed.Cir.2011).

        In the Tenth Circuit, a dispositive sanction may be imposed only when the failure to comply with

 discovery demands is the result of willfulness, bad faith, or some fault of a party other than inability to

 comply. See Societe Internationale Pour Participations Industrielles et Commerciales, S.A. v. Rogers, 357

 U.S. 197, 208–10 (1958); Nat’l Hockey League, 427 U.S. at 640; FDIC v. Daily, 973 F.2d 1525, 1529

 (10th Cir.1992); Gocolay v. New Mexico Federal Savings & Loan Assoc., 968 F.2d 1017, 1020 (10th Cir.

 1992). A “willful failure” is defined as “‘any intentional failure as distinguished from involuntary

 noncompliance. No wrongful intent need be shown.’” In re Standard Metals, 817 F.2d 625, 628–29 (10th

 Cir.1987) (quoting Patterson v. C.I.T. Corp., 352 F.2d 333, 336 (10th Cir.1965)) (emphasis added).

                                                      23
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 25 of 30


        Where no willfulness, bad faith or fault is shown from the evidence, a dispositive sanction would

 be improper. Gocolay, 968 F.2d at 1020. On the other hand, serious sanctions are warranted in cases where

 the judge finds willfulness or bad faith. This is so because actions which are found to be deliberate and

 purposeful ought to be punished accordingly. Anderson v. Cryovac, 862 F.2d 910, 925 (1st Cir.1988).

        In E.E.O.C. v. Dillon Companies, Inc., 839 F.Supp.2d 1141 (D. Colo.2011), the district court was

 tasked with determining whether taping over a master copy of video and allowing the DVR recording to

 expire constituted bad faith under the Aramburu standard. In Dillon, the “defendant clearly recognized the

 need to maintain a copy of the videotape; that is the reason — allegedly per company policy — that a

 master-copy was created.” Id. at 1145. “Only specific persons had access to the master-copy, and one of

 them intentionally created a work-around to allow the master to be taped over, again in violation of

 company policy.” Id. The court did not require any additional evidence to conclude that destruction of the

 video satisfied the Armburu standard. Id. (“This alone indicates bad faith . . . This is exactly the type of

 case where sanctions for spoliation of evidence are appropriate”). The same is true here.

        As in Dillon Companies, Defendants “clearly recognized the need to maintain a copy” but “one of

 them created a work-around” to ensure that a jury would never see video of what happened to Ronald in

 the doorway to medical or the conduct outside his cell door. No lesser sanction than entry of a default

 judgment can remedy the substantial prejudice that Estate has suffered by Defendants’ spoliation. As one

 Court noted, “Default judgment is a proportional response . . . given [defendants] unabashedly intentional

 destruction of relevant, irretrievable evidence.” Gentex Corp, 2011 WL 5040893 at 6. In Gentex, the

 defendants intentionally deleted a host of computer data that may have benefited the plaintiff. In granting

 a default, the Court also recognized the deterrent value of the sanction. Id. (“I am especially conscious of

 the deterrence value of harsh sanctions in cases like this where the crucial evidence exists in electronic

 form, and a party may destroy its opponent’s case with the mere click of a button.”). The same is true here

 – Estate can never recover what Defendants have destroyed, and no instruction to a jury can adequately

                                                     24
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 26 of 30


 replace purely objective video evidence.

         In Computer Associates Intern., Inc., v. American Fundware, Inc., 133 F.R.D. 166 (D.Colo. 1990)

 the defendant destroyed source codes that were central to the case, and did so after litigation was

 reasonably foreseeable. In that case, the Court held that no lesser sanction than default could remedy the

 injustice:

                I find and conclude that no alternative sanction short of a default judgment
                would adequately punish AF and deter future like-minded litigants. Any
                lesser sanction would allow a party possessing evidence that would insure
                an adverse result to destroy that evidence with impunity, thus assuring
                defeat for the opponent while risking only a comparatively mild rebuke.
                One who anticipates that compliance with discovery rules, and the resulting
                production of damning evidence, will produce an adverse judgment, will
                not likely be deterred from destroying that decisive evidence by any
                sanction less than the adverse judgment he (or she) is tempted to thus evade.
                It follows that the only sanction adequate and appropriate to punish AF and
                deter future similarly situated litigants is default judgment on liability.

 Computer Assoc. Intern., Inc., 133 F.R.D. at 170.

         Expounding on the logic of Computer Associates, the Report and Recommendation in Phillips

 made the following observation about the willful destruction of electronically stored information:

                [C]ourts have recognized that if parties are willing to take the risk and
                balance destroying evidence against turning over the proverbial smoking
                gun, knowing that the destruction will not result in the ultimate judgment,
                destruction of important evidence will occur. The court must not inherently
                reward the misbehavior of companies and individuals who want to destroy
                incriminating evidence rather than produce it and have a judgment entered
                against them; litigants must be strongly discouraged, rather than encouraged
                in any way, to become more and more clever about how to delete and hide
                the destruction of electronic documents.

 Phillips, 773 F.Supp.2d at 1213.

         The rationale of Computer Associates and Phillips is equally true here. There was no logical reason

 for Defendants to destroy saved video unless that video depicted acts or evidence that would assure defeat

 in this court and risk the criminal prosecution of CCJC leadership or employees.




                                                     25
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 27 of 30


         The only logical explanation for the destruction is that Defendants made a deliberate decision to

 destroy video betting that the reward of destruction would outweigh the risk of production or any

 subsequent penalty. Indeed, preservation of the video is simple, cost effective, and something that was

 done after the incident. By purposefully destroying the video, Defendants insulated themselves from

 potential criminal and civil penalties while distorting the context in which the second and fatal use of force

 occurred. By destroying the video, Defendants can present a misleading narrative to the jury with

 impunity. Any sanction less than default cannot adequately restore Estate to the position that it would be

 in had Defendants preserved the video, and no other sanction creates a disincentive that would dissuade

 these or other Defendants from committing rampant discovery abuses in the future.

         Even assuming this Court could fashion an adverse inference, there is no way that a jury could

 accurately determine if that instruction is commensurate with the discovery “crime.” Further, prohibiting

 the Defendants from presenting a defense does not provide the jury with the video images destroyed by

 the Defendants. Perhaps more importantly, this Court must dissuade Defendants and others from engaging

 in the type of risk/reward analysis that might tempt future jailers and administrators to destroy vital

 evidence in the future to create shame alibis to defeat subsequent civil or criminal liability. And the need

 to dissuade Creek County is manifest; the prior sanction order from Judge Dowdell was clearly

 insufficient.

         Creek County is a repeat offender and considerations of future deterrence are well-recognized

 when considering sanctions. This fact underscores the importance that courts place on a litigant’s

 responsibility to preserve evidence, and the ultimate harm that results when a party can destroy a case

 with the push of a button. Given the totality of circumstances of this particular case, a dispositive sanction

 is justified, along with all costs and fees incurred that are reasonable and necessary for the preparation and

 presentation of this motion.




                                                      26
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 28 of 30


         C.       ASSUMING ARGUENDO THE COURT DOES NOT CONSIDER DEFAULT IS NECESSARY,
                  ESTATE REQUESTS A LESSER SANCTION

         “The court, of course, may impose lesser sanctions absent a finding of bad faith.” Henning v. Union

 Pacific R. Co., 530 F. 3d 1206, 1220 (10th Cir. 2008) (citing Estate of Trentadue v. United States, 397

 F.3d 840, 862 (10th Cir.2005) (“The district court has discretion to fashion an appropriate remedy

 depending on the culpability of the responsible party and whether the evidence was relevant to proof of

 an issue at trial.”).

         In Peschel, supra, the district court declined to enter default following destruction of relevant use

 of force video from a police dash camera, but it recognized the irreversible prejudice to plaintiff’s case.

 The court rejected the defendant’s proposed solutions: to allow others to testify as to what they saw:

         The mischief in the proposal lies in the fact there would effectively be no sanction
         whatsoever for the City’s spoliation of the best evidence of what occurred during the arrest
         of Peschel. The purported sanction would have absolutely no punitive, deterrent, or
         remedial value. It is cavalier to suggest otherwise. At worst, the Court would be effectively
         condoning the spoliation of the best evidence available to resolve the factual dispute with
         the greatest accuracy. The importance of video recordings to the fair, accurate, and
         expeditious resolution of disputes emanating from encounters between law enforcement
         and the public cannot be overstated. The Court would be remiss to simply ignore, as
         suggested by the City, the spoliation of the video recording.

 Id. at 1145.

         As set forth above, the Court enjoys broad discretion when deciding what sanctions to impose.

 Assuming arguendo the Court concludes that default is not warranted at this juncture, Estate proposes the

 Court further impose any one or combination of the following:

                  1.     A mandatory adverse inference instruction to the jury that
                         Defendants destroyed relevant video images that were damaging to
                         their position at trial, with specific language to be submitted upon
                         subsequent application of the Estate;

                  2.     A rebuttable presumption to the jury that Defendants destroyed
                         relevant video images that were damaging to their position at trial,
                         with specific language to be submitted upon subsequent application
                         of the Estate;

                  3.     Precluding Defendants from presenting any argument or defense
                                                      27
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 29 of 30


                           that might be refuted by the missing video;

                  4.       Referral of the matter to the United States Attorney for the Northern
                           District of Oklahoma for consideration of criminal charges;2

                  5.       Waiver of the attorney client and work product privilege;

                  6.       Imposing Estate’s costs and attorney fees on Defendants up to the
                           present date;

                  7.       Imposing Estate’s costs and attorney fees on Defendants regardless
                           of the outcome at trial;3

                  8.       The exclusion of any reference to Ronald’s toxicology;

                  9.       Any other relief the Court deems just and equitable.

                                                            III.

                                                      CONCLUSION

         Defendants destroyed video in violation of their preservation duties, or alternatively, they

 knowingly failed to take steps to ensure the video was not protected from destruction. At the time of the

 Incident, Fetters knew Ronald was older, dry celled, begging for water, needed an assessment ASAP, was

 actively hallucinating, suffering through hours of torment, had experienced an earlier humiliation having

 water thrown in his face, and experienced a prior use of force at the hands of Fetters himself in the doorway

 to medical. For someone hallucinating, it was entirely reasonable for Ronald to believe that Fetters

 intended to cause him harm, and he was right.

         Based on these circumstances, a jury is entitled to know how the use of force in the doorway to

 medical played out, and whether it was similar to what happened in the doorway to detox. Both force

 incidents involved Fetters and both happened in a doorway. Simialrly, the jury is entitled to know if staff

 were checking on Ronald or antagonizing him and making the situation worse. Unfortunately, the jury

 will never get the answers to those question because the video was destroyed. There is no way to put


 2
  See SonoMedica, Inc. v. Mohler, 2009 WL 2371507, at *1 (E.D.Va. July 28, 2009).
 3
  See Switzer v. Much, Shelist, Freed, Denenberg, Ament, Bell & Rubenstein, P.C., 214 F.R.D. 682 (W.D.Okla. 2003) (requiring
 party to pay attorney fee’s of opposing party regardless of outcome of trial).
                                                             28
Case 4:19-cv-00098-JFH-CDL Document 192 Filed in USDC ND/OK on 02/10/20 Page 30 of 30


 Estate back in the position of having the missing video, and a jury’s determination may ultimately turn on

 whether Ronald acted reasonably in light of the prior treatment. The prejudice is dispositive. For these

 reasons, Estate respectfully requests the Court enter a sanction that appropriately fits the discovery crime.

        WHEREFORE, all premises considered, Estate respectfully requests the Court grant the motion

 for sanctions and enter a default judgment against one or more of the Defendants. In the alternative, Estate

 respectfully requests the Court impose any one or combination of the alternative sanctions identified

 above, along with all costs and expenses incurred, and any other relief the Court deems just and equitable.

                                               Respectfully submitted,

                                               BRYAN & TERRILL


                                                 s/J. Spencer Bryan
                                               J. Spencer Bryan, OBA # 19419
                                               Steven J. Terrill, OBA # 20869
                                               BRYAN & TERRILL LAW, PLLC
                                               3015 E. Skelly Dr., Suite 400
                                               Tulsa, OK 74105
                                               Tele/Fax:       (918) 935-2777
                                               jsbryan@bryanterrill.com
                                               Attorneys for Plaintiff




                                      CERTIFICATE OF SERVICE

        I certify that I transmitted this document to the clerk of the court using the CM/ECF system.

                                                 s/J. Spencer Bryan
                                               J. Spencer Bryan




                                                      29
